                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION

BRANDON DANIEL,                            §
                                           §
                  Petitioner,              §
                                           §     CIVIL NO. A-17-CV-1069-LY
v.                                         §
                                           §     * DEATH PENALTY CASE *
LORIE DAVIS, Director,                     §
Texas Department of Criminal Justice,      §
Correctional Institutions Division,        §
                                           §
                  Respondent.              §

                          REPONDENT’S ADVISORY

      Respondent Lorie Davis (the Director) files this Advisory to explain why

supplemental state court records are being concurrently filed with the Court.

      In February 2016, Petitioner Brandon Daniel applied for a state writ of

habeas corpus and submitted two volumes of exhibits. Volume 1 is contained

in the state court record the Director previously filed with this Court. However,

Volume 2 was not included because it was filed under seal in state court:

“Under Seal Exhibits 23 to 30 to the Initial Application for a Writ of Habeas

Corpus, Volume 2.” (Exhibit A). The sealed exhibits were available to be

transmitted to the Texas Court of Criminal Appeals for its consideration in

relation to Daniel’s writ application. On October 18, 2017, the Texas Court of

Criminal Appeals denied habeas corpus relief. Ex parte Daniel, No. 83,459-01

(Tex. Crim. App. 2017).

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      Daniel is currently before this Court seeking a federal writ of habeas

corpus. Daniel’s counsel informed the undersigned that they are using all but

one of the Under Seal Exhibits 23-30, in whole or in part, to support their

amended federal habeas petition. ECF Nos. 7-1 to 7-6, ECF 20 (seven

appendices of federal habeas exhibits). In order to determine whether evidence

is newly presented in federal court and barred from review under Cullen v.

Pinholster, 563 U.S. 170, 181-82 (2011), undersigned counsel filed in the state

habeas court an Unopposed Motion to Unseal Records. On August 26, 2019,

Judge Brenda P. Kennedy of the 403rd District Court for Travis County, Texas,

signed an order granting the Director’s motion, and ordered that a copy of

Daniel’s Exhibits 23-30 be forwarded to the undersigned. (Exhibit B). Those

records were received and are concurrently being filed as supplemental state

court records in this case.

                              Respectfully submitted,

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                              for Criminal Justice

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                              /s/ Katherine D. Hayes
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                              COUNSEL FOR RESPONDENT


                       CERTIFICATE OF SERVICE

      I certify that on September 24, 2019, I electronically filed this Advisory

using the Court’s CM/ECF system. The Notice of Electronic Filing that was

generated constitutes service of this document on the following Filing Users:

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